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                                                                                          June 13, 2025

VIA ECF
Honorable Michael E. Farbiarz
United States District Judge
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Newark, New Jersey 07101
        Re:     Khalil v. Trump , et al. , No. 2:25-cv-1963 (MEF) (MAH)
Dear Judge Farbiarz,
        Mr. Khalil submits this letter to respectfully request this Court order Mr. Khalil’s release
pursuant to this Court’s June 11, 2025 order and opinion enjoining Mr. Khalil’s removal and detention
based on the Secretary of State’s determination. ECF 299. In accordance with the Court’s Order, Mr.
Khalil has satisfied the requirements for this preliminary injunction and has posted his Bond. ECF
300. The Government has not filed a notice of appeal of this Court’s Order by the Court-ordered
deadline for the preliminary injunction to be in effect. Nor has the Government represented that Mr.
Khalil is being detained based on any ground other than the one the Court enjoined. See Exhibit A
(email exchange between Respondents and Mr. Khalil’s immigration Counsel). The Government has
declined to provide information about plans for Mr. Khalil’s release today. See id. Consistent with the
Court’s factual finding that “it is overwhelmingly likely that the Petitioner would not be detained based
solely on the lawful-permanent-resident application charge,” and that “detention almost surely flows
from the Secretary of State’s determination,” this Court should order his release forthwith. ECF 299.
Respectfully submitted,

/s/Liza Weisberg__________

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